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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
ABC,                                                                   :
                                                                       :
                                    Petitioner,                        :
                                                                       :     21-MC-217 (JMF)
                  -v-                                                  :
                                                                       :   MEMORANDUM OPINION
DEF,                                                                   :       AND ORDER
                                                                       :
                                    Respondent.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

       Petitioner seeks leave to file its petition to confirm a final arbitration award in redacted
form and to file a related exhibit, namely the final arbitration award itself, under seal. For the
reasons that follow, the motion is DENIED.

        It is well established that filings that are “relevant to the performance of the judicial
function and useful in the judicial process” are considered “judicial documents” to which a
presumption in favor of public access attaches. Lugosch v. Pyramid Co. of Onondaga, 435 F.3d
110, 119 (2d Cir. 2006). Assessment of whether the presumption in favor of public access is
overcome must be made on a document-by-document basis, see, e.g., Brown v. Maxwell, 929
F.3d 41, 48 (2d Cir. 2019). The party seeking to maintain information filed under seal bears “the
burden ... to demonstrate that the interests favoring non-access outweigh those favoring
access.” United States v. Amodeo, 44 F.3d 141, 148 (2d Cir. 1995). Significantly, “the mere fact
that information is sealed or redacted by agreement of the parties is not a valid basis to overcome
the presumption. That is, a party must demonstrate reasons to justify sealing or redaction
separate and apart from a private agreement to keep information confidential.” Homeward
Residential, Inc. v. Sand Canyon Corp., — F. Supp. 3d. —, No. 12-CV-5067 (JMF), 2020 WL
6562351, at *8 (S.D.N.Y. Nov. 9, 2020) (citation omitted).

        Here, it is “plain as day” that the final arbitration award sought to be filed under seal is a
judicial document to which the presumption of public access applies, DXC Tech. Co. v. Hewlett
Packard Enter. Co., No. 19-CV-7954 (VEC), 2019 WL 4621938, at *1 (S.D.N.Y. Sept. 11,
2019), because it would “directly affect the Court’s adjudication” of the petition to confirm, Aioi
Nissay Dowa Ins. Co. Ltd. v. ProSight Specialty Mgmt. Co., Inc., No. 12-CV-3274 (JPO), 2012
WL 3583176, at *6 (S.D.N.Y. Aug. 21, 2012) (internal quotation marks omitted). Additionally,
the weight of the presumption is “high” because the information contained in the Award
“constitute[s] ‘the heart of what the Court is asked to act upon’” in the petition. Eagle Star Ins.
Co. Ltd. v. Arrowood Indem. Co., No. 13-CV-3410 (HB), 2013 WL 5322573, at *2 (S.D.N.Y.
Sept. 23, 2013) (quoting Glob. Reinsurance Corp.-U.S. Branch v. Argonaut Ins. Co., No. 07-CV-
8196 (PKC), 2008 WL 1805459, at *1 (S.D.N.Y. Apr. 21, 2008), as amended (Apr. 24, 2008)).
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Indeed, “[c]ourts in this district have generally been loath to seal arbitration awards” in this
context. Istithmar World PJSC v. Amato, No. 12-CV-7472 (JFK), 2013 WL 66478, at *3
(S.D.N.Y. Jan. 7, 2013); see, e.g., PDV Sweeny, Inc. v. ConocoPhillips Co., No. 14-CV-5183
(AJN), 2014 WL 4979316, at *3 (S.D.N.Y. Oct. 6, 2014); Century Indem. Co. v. AXA Belg., No.
11-CV-7263 (JMF), 2012 WL 4354816, at *13 (S.D.N.Y. Sept. 24, 2012); Alexandria Real
Estate Equities, Inc. v. Fair, No. 11-CV-3694 (LTS), 2011 WL 6015646, at *2-3 (S.D.N.Y. Nov.
30, 2011). Finally, Petitioner fails to carry its burden of establishing any “interests favoring non-
access,” much less such interests strong enough to “outweigh those favoring access.” Amodeo,
44 F.3d at 148. In seeking leave to file under seal, the sole basis provided for the request is the
private agreement of the parties. But, as noted, that is not a valid basis upon which to seal
judicial documents. Accordingly, Petitioner’s motion must be and is denied.

        The Clerk of Court is directed to terminate ECF No. 1 and to close this miscellaneous
case.

        SO ORDERED.

Dated: March 10, 2021                                 __________________________________
       New York, New York                                      JESSE M. FURMAN
                                                             United States District Judge




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